Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                               Page 1 of 49 PageID 363



                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

SECURITIES AND EXCHANGE                                      §
COMMISSION,                                                  §
                                                             §
                           Plaintiff,                        §
                                                             §
v.                                                           §       Cause No. 3:09-CV-0298-N
                                                             §
STANFORD INTERNATIONAL BANK,                                 §
LTD., ET AL.,                                                §
                                                             §
                           Defendants.
                                                             §
                                                             §
THE OFFICIAL STANFORD INVESTORS
                                                             §
COMMITTEE,
                                                             §
                           Plaintiff,                        §
                                                             §
v.                                                           §               Cause No. 3:12-cv-01447-N
                                                             §
BDO USA, LLP, et al.,                                        §
                                                             §
                           Defendants.                       §


          EXPEDITED REQUEST FOR ENTRY OF SCHEDULING ORDER1
        AND MOTION TO APPROVE PROPOSED SETTLEMENT WITH BDO
        USA, LLP, TO APPROVE THE PROPOSED NOTICE OF SETTLEMENT
     WITH BDO USA, LLP, TO ENTER THE BAR ORDER, TO ENTER THE FINAL
     JUDGMENT AND BAR ORDER, AND FOR PLAINTIFFS’ ATTORNEYS’ FEES

         COME NOW Ralph S. Janvey, the Receiver for the Receivership Estate in Securities and

Exchange Commission v. Stanford International Bank, Ltd., et al., Civil Action No. 3:09-CV-

0298-N (the “SEC Action”); the Official Stanford Investors Committee (the “Committee”), as a


1
 Movants request that the Court promptly enter the Scheduling Order, without waiting the twenty-one (21) days
contemplated by Local Rule 7.1(e) for interested parties to respond to this Motion, because such Scheduling Order
merely approves the notice and objection procedure and sets a final hearing, and does not constitute a final approval
of the Settlement Agreement.


MOTION TO APPROVE SETTLEMENT WITH BDO                                                                               1
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                             Page 2 of 49 PageID 364



party to the SEC Action and as plaintiff in The Official Stanford Investors Committee v. BDO

USA, LLP, et al., Civil Action No. 3:12-cv-01447-N (the “Committee Litigation”); and Philip A.

Wilkinson and Pam Reed (the “Investor Plaintiffs”), the plaintiffs in Philip Wilkinson, et al. v.

BDO USA, LLP, et al., Civil Action No. 3:11-CV-01115-N (the “Investor Litigation”) (movants

are, collectively, the “Plaintiffs”), and move the Court to approve the settlement (the “BDO

Settlement”) among and between Plaintiffs and BDO USA, LLP and other BDO entities2 (the

“BDO Entities”) as defendants in the Committee Litigation and the Investor Litigation. Plaintiffs

further request, as more fully set out below, that the Court enter the Scheduling Order, approve

the Notices, and enter the Bar Order and the Judgment and Bar Order attached to and

incorporated by reference into the BDO Settlement Agreement, attached as Exhibit 1 to the

Appendix in Support of this Motion.3 Plaintiffs jointly request this Court to find the BDO

Settlement is in the best interest of all involved, and to approve the BDO Settlement. Plaintiffs

further request that the Court approve payment of Plaintiffs’ attorneys’ fees in accordance with

the contingency fee agreements between Plaintiffs’ counsel and the Committee. In support

thereof, Plaintiffs respectfully state the following:

                                            I. INTRODUCTION

         1.       As part of their lengthy and thorough investigation of the Stanford Ponzi scheme

and after many years of investigating and pursuing claims against third parties, including the

BDO Entities, Plaintiffs have reached a major settlement with BDO USA, the auditor of Stanford


2
  BDO International Ltd. (“BDO International”), BDO Global Coordination, B.V. (“BDO Global”), and Brussels
Worldwide Services BVBA (“Brussels Worldwide”).
3
  Capitalized terms not otherwise defined herein shall have the meaning set forth in the BDO Settlement Agreement.
To the extent of any conflict between this Motion and the terms of the BDO Settlement Agreement, the BDO
Settlement Agreement shall control.


MOTION TO APPROVE SETTLEMENT WITH BDO                                                                           2
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                                   Page 3 of 49 PageID 365



Group Company and certain other Stanford companies, as well as BDO USA’s foreign affiliates

BDO International, BDO Global, and Brussels Worldwide. Under the agreement, once approved

and effective, BDO USA has agreed to pay $40 million to the Receiver for distribution to

customers of Stanford International Bank, Ltd. (“SIBL”), who, as of February 16, 2009, had

funds on deposit at SIBL and/or were holding certificates of deposit issued by SIBL (“Stanford

Investors”) who have submitted claims that have been allowed by the Receiver.

         2.       In return, the BDO Entities seek a global release and settlement of all claims that

have been asserted, or could have been asserted, against the BDO Released Parties4 arising from

or relating to Allen Stanford, the Stanford Entities, or any conduct by the BDO Entities and other

BDO Released Parties relating to Allen Stanford or the Stanford Entities. Accordingly, the BDO

Settlement is conditioned, in significant part, on the Court in the SEC Action entering the Bar

Order attached to the BDO Settlement Agreement, and in the Committee Litigation entering the

Judgment and Bar Order. These bar orders would bar and enjoin other parties from asserting

against the BDO Released Parties any action, lawsuit, cause of action, claim, investigation,

demand, complaint, or proceeding of any nature, including but not limited to litigation,

arbitration, or other proceeding, in any Forum, whether individually, derivatively, on behalf of a

class, as a member of a class, or in any other capacity whatsoever, that in any way relates to, is


4
  “BDO Released Parties” means the BDO Entities, and each of their respective past, present, and future directors,
officers, legal and equitable owners, shareholders, members, managers, principals, employees, associates,
representatives, distributees, agents, attorneys, trustees, general and limited partners, lenders, insurers and reinsurers,
direct and indirect parents, subsidiaries, affiliates, related entities, divisions, partnerships, corporations, executors,
administrators, heirs, beneficiaries, assigns, predecessors, predecessors in interest, successors, and successors in
interest. “BDO Released Parties” shall not include any Person, other than the BDO Entities, who is on the
Agreement Date a named defendant in any litigation filed by any of the Plaintiffs, and shall not include any Person
who becomes employed by, related to, or affiliated with the BDO Entities after the Agreement Date and whose
liability, if any, arises out of or derives from actions or omissions before becoming employed by, related to, or
affiliated with the BDO Entities.


MOTION TO APPROVE SETTLEMENT WITH BDO                                                                                    3
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                                  Page 4 of 49 PageID 366



based upon, arises from, or is connected with the Stanford Entities; the SEC Action; the Investor

Litigation; the Committee Litigation; the subject matter of the SEC Action, the Investor

Litigation, or the Committee Litigation; or any Settled Claim.5 The foregoing specifically would

include any claim, however denominated, seeking contribution, indemnity, damages, or other

remedy where the alleged injury to such Person, entity, or Interested Party, or the claim asserted

by such Person, entity, or Interested Party, is based upon such Person’s, entity’s, or Interested

Party’s liability to any Plaintiff, Claimant, or Interested Party arising out of, relating to, or based

in whole or in part upon money owed, demanded, requested, offered, paid, agreed to be paid, or

required to be paid to any Plaintiff, Claimant, Interested Party, or other Person or entity, whether

pursuant to a demand, judgment, claim, agreement, settlement or otherwise.

         3.       Plaintiffs request the Court to approve the BDO Settlement Agreement and enter

the Bar Order in the SEC Action and the Judgment and Bar Order in the Committee Litigation.

         4.       Plaintiffs further request that the Court approve payment of attorneys’ fees to the

counsel whose efforts resulted in the BDO Settlement consistent with their contractual twenty-

five percent (25%) contingency fee agreements with the Committee and the Investor Plaintiffs.




5
  “Settled Claim” means any action, cause of action, suit, liability, claim, right of action, or demand whatsoever,
whether or not currently asserted, known, suspected, existing, or discoverable, and whether based on federal law,
state law, foreign law, common law, or otherwise, and whether based on contract, tort, statute, law, equity or
otherwise, that a Releasor ever had, now has, or hereafter can, shall, or may have, directly, representatively,
derivatively, or in any other capacity, for, upon, arising from, relating to, or by reason of any matter, cause, or thing
whatsoever, that, in full or in part, concerns, relates to, arises out of, or is in any manner connected with (i) the
Stanford Entities; (ii) any certificate of deposit, CD, depository account, or investment of any type with any one or
more of the Stanford Entities; (iii) any one or more of the BDO Entities’ relationship with any one or more of the
Stanford Entities; (iv) the BDO Entities’ provision of services to the Stanford Entities; or (v) any matter that was
asserted in, could have been asserted in, or relates to the subject matter of the SEC Action, the Investor Litigation,
the Committee Litigation, or any proceeding concerning the Stanford Entities pending or commenced in any Forum.
See Paragraph 19 of the BDO Settlement Agreement for a complete definition of Settled Claim.


MOTION TO APPROVE SETTLEMENT WITH BDO                                                                                   4
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                            Page 5 of 49 PageID 367



                                           II. BACKGROUND

    A.   Authority of the Receiver and the Committee

         5.       On February 17, 2009, the Securities & Exchange Commission (“SEC”) filed this

action and the Court appointed Ralph S. Janvey as Receiver “to immediately take and have

complete and exclusive control, possession, and custody of the Receivership Estate and to any

assets traceable to assets owned by the Receivership Estate.” See Order Appointing Receiver ¶ 4

[SEC Action ECF No. 10].6 The Second Amended Order Appointing Receiver, entered on July

19, 2010, is the current order setting forth the Receiver’s rights and duties (the “Second Order”).

[SEC Action ECF No. 1130]. The Receiver’s primary duty is to marshal and preserve the assets

of the Receivership Estate, and minimize expenses, “in furtherance of maximum and timely

disbursement thereof to claimants.” Second Order ¶ 5.

         6.       The Receiver is not only authorized but required to pursue outstanding liabilities

and claims for the Estate. Id. ¶¶ 3, 5(b)-(c). The Court vested Ralph S. Janvey with “the full

power of an equity receiver under common law as well as such powers as are enumerated” by the

Court. Id. ¶ 2. The Receiver can assert claims against third parties and “recover judgment with

respect to persons or entities who received assets or records traceable to the Receivership

Estate.” SEC v. Stanford Int’l Bank, Ltd., 776 F. Supp. 2d 323, 326 (N.D. Tex. 2011). The Court

has directed the Receiver to institute, prosecute, defend, and compromise actions that the

Receiver deems necessary and advisable to carry out his mandate. Second Order ¶ 5(i).

         7.       On April 20, 2009, the Court also appointed John J. Little as Examiner, to

advocate on behalf of “investors in any financial products, accounts, vehicles or ventures

6
         All Docket Items are from SEC v. Stanford International Bank, Ltd., No. 3:09-CV-298-N (N.D. Tex.),
unless otherwise noted.


MOTION TO APPROVE SETTLEMENT WITH BDO                                                                         5
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                  Page 6 of 49 PageID 368



sponsored, promoted or sold by any Defendant in this action.” [SEC Action ECF No. 322].

Although he is not a party to the Committee Litigation or the Investor Litigation, the Examiner

signed the BDO Settlement Agreement as chair of the Committee, and as Examiner solely to

evidence his support and approval of the BDO Settlement and the obligation to post Notice of the

BDO Settlement on his website.

         8.       On August 10, 2010, this Court entered its order (the “Committee Order”)

creating the Committee and appointing the Committee to “represent[] in [the SEC Action] and

related matters” the Stanford Investors. [SEC Action ECF No. 1149]. The Committee Order

confers upon the Committee the right to investigate and pursue claims on behalf of the Stanford

Investors and for the Receivership Estate (by assignment from the Receiver). Id. ¶ 8(d). This

Court has recognized the Committee’s standing to pursue litigation claims such as the claims

against the BDO Entities that are the subject of the BDO Settlement. See September 24, 2012

Order, Dkt. No. 33, in Janvey & Official Stanford Investors Committee v. IMG Worldwide Inc. &

Int’l Players Championship, Inc., Civ. Action No. 3:11-CV-0117-N, at pp. 4-6 (the Committee

has standing to pursue claims based on the Court’s grant of such authority to the Committee as

an unincorporated association representing the interests of the Stanford Investors).

 B.      The Investigation of Claims Against the BDO Entities

         9.       Counsel to the Receiver, the Committee and the Investor Plaintiffs have spent

several years and thousands of hours investigating and pursuing claims against the BDO Entities

on behalf of the Stanford Receivership Estate and Stanford Investors. As part of their

investigation of the claims against the BDO Entities, counsel to the Receiver, the Committee and

the Investor Plaintiffs have reviewed voluminous documents, emails, audit work papers and



MOTION TO APPROVE SETTLEMENT WITH BDO                                                         6
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                 Page 7 of 49 PageID 369



depositions obtained from the SEC during its investigation of BDO, which the Receiver obtained

through a cooperation agreement with the SEC. The materials reviewed by Plaintiffs’ counsel

included, among other materials, thousands of pages of the SEC and other investigation

materials, thousands of pages of deposition testimony of BDO personnel and other relevant

witnesses together with all of the exhibits to those depositions, thousands of emails of BDO

personnel, and the audited financial statements and the detailed audit work papers of BDO for all

of the relevant audit years. Counsel was also required to research all relevant case law and

GAAS standards governing the potential audit malpractice claims belonging to the Receivership

Estate, as well as the potential Texas Securities Act (“TSA”) and other claims belonging to the

Stanford Investors, to determine how the facts surrounding BDO’s audits supported those claims.

Because the potential claims against the BDO Entities involved claims of professional

negligence, counsel was also required to retain and work with a consulting audit malpractice

expert to formulate the basis of the potential claims to be asserted against the BDO Entities. The

investigation further required formulation of viable damage models and causation theories for

both the Receivership Estate and Stanford Investor claims.

         10.      Investigation and prosecution of the Receivership Estate and Stanford Investor

claims against the BDO Entities also necessarily required thousands of hours investigating and

understanding the background and history of the complex web of Stanford companies, the

financial transactions, interrelationship and dealings between and among the various Stanford

entities, and the complex facts relating to the Ponzi scheme and how it was perpetrated through

the various Stanford entities. Without a comprehensive investigation and understanding of this

background, it would not have been possible to formulate viable claims against the BDO



MOTION TO APPROVE SETTLEMENT WITH BDO                                                           7
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                    Page 8 of 49 PageID 370



Entities. The Committee’s counsel have also spent thousands of hours since the Committee’s

formation in 2010 in support of the joint effort with the Receiver to investigate and prosecute

numerous third party claims, including the claims against the BDO Entities, pursuant to an

agreement between the Receiver and the Committee. The Receiver, the Committee and the

undersigned law firms have done an immense amount of work investigating and analyzing the

Stanford Ponzi scheme since the commencement of this receivership case, all of which allowed

the Receiver, the Committee and the undersigned counsel to formulate and file the claims against

the BDO Entities that led to the BDO Settlement for which approval is sought by this Motion.

But for the diligent efforts of the Receiver, the Committee and their counsel since the

commencement of this receivership proceeding, the BDO Settlement would never have been

achieved, and the Receivership Estate and the Stanford Investors would not have achieved this

$40 million settlement.

         11.      Plaintiffs and their counsel have conducted a thorough analysis of the potential

claims against the BDO Entities, considering:

                  a. claims available under both state and federal law;

                  b. the viability of those claims considering the facts underlying the BDO
                     Entities’ business dealings with Stanford and this Court’s previous rulings;
                     and

                  c. the success of similar claims in other Ponzi scheme cases, both in the Fifth
                     Circuit and elsewhere.

 C.      The Investor Litigation

         12.      Investor Plaintiffs’ Original Complaint in the Investor Litigation was filed on

May 26, 2011, against BDO USA and BDO International. Philip Wilkinson and Pam Reed were

the named Investor Plaintiffs, suing individually and on behalf of a putative class of Stanford


MOTION TO APPROVE SETTLEMENT WITH BDO                                                           8
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                                Page 9 of 49 PageID 371



Investors. Pam Reed is also a member of the Committee.7 The Investor Plaintiffs asserted claims

against the BDO Entities for aiding and abetting violations of the TSA, aiding and abetting

breach of fiduciary duty, aiding and abetting a fraudulent scheme, civil conspiracy, single

business enterprise, alter ego and respondeat superior.

         13.      On August 12, 2011, BDO USA filed its Motion to Dismiss the claims asserted in

the Investor Litigation, alleging primarily that SLUSA8 preempted all causes of action asserted.

BDO USA also contended that Plaintiffs’ fraud allegations were not pled with specificity

pursuant to Rule 9(b), that Plaintiffs’ TSA claims were barred by limitations, and that Plaintiffs

failed to plead the requisite scienter by BDO USA necessary to establish aider and abettor

liability under the TSA. BDO USA’s motion also urged that Plaintiffs’ TSA claims were based

upon non-existent co-conspirator theories of liability, and that Plaintiffs had failed to allege

sufficient facts to demonstrate that BDO USA knowingly aided and assisted SGC’s and STC’s

breaches of fiduciary duty. BDO USA also took issue with Plaintiffs’ conspiracy claims, arguing

that Texas does not recognize a cause of action for aiding and abetting a fraudulent scheme

separate from conspiracy, that Plaintiffs had failed to allege particularized facts establishing

BDO USA knowingly aided and assisted in the Stanford Ponzi scheme, that Plaintiffs’

conspiracy claim was barred by a two-year limitations period and that Plaintiffs failed to allege

particularized facts to demonstrate BDO USA had the requisite meeting of the minds with the

alleged co-conspirators to engage in a Ponzi scheme.

         14.      BDO International filed a separate Motion to Dismiss the Investor Plaintiffs’

7
 Pam Reed became a member of OSIC in July 2013.
8
 The Securities Litigation Uniform Standards Act of 1998 forbids the bringing of large securities class actions
“based upon the statutory or common law of any State” in which the plaintiffs allege “a misrepresentation or
omission of a material fact in connection with the purchase or sale of a covered security.” 15 U.S.C. § 78bb(f)(1).


MOTION TO APPROVE SETTLEMENT WITH BDO                                                                                 9
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                    Page 10 of 49 PageID 372



claims on August 22, 2011, asserting that it was not subject to personal jurisdiction and should

therefore be dismissed pursuant to Rule 12(b)(2) of the Federal Rules of Civil Procedure. BDO

International also asserted that it did not exist as an entity at the time of the events giving rise to

the Investor Plaintiffs’ claims and therefore should be dismissed pursuant to Rule 12(b)(6) of the

Federal Rules of Civil Procedure. BDO International also contested the adequacy of Plaintiffs’

vicarious liability allegations attempting to hold it liable for the actions of BDO USA through

theories of joint enterprise, alter ego or respondeat superior. BDO International further

incorporated all of the dismissal arguments made in BDO USA’s Motion to Dismiss.

         15.      Plaintiffs filed a First Amended Complaint in the Investor Litigation on

September 2, 2011, adding BDO Global and Brussels Worldwide as Defendants.

         16.      On August 31, 2011, the Court issued a Final Judgment and Order in a related

case, Roland v. Green, No. 3:10-cv-00224-N (N.D. Tex., Aug. 31, 2011) (Godbey) [Docket # 72

and # 73] that dismissed the Roland plaintiffs’ claims with prejudice based on the Court’s

interpretation and application of SLUSA (the “Roland Order”). Therefore, on September 15,

2011, the parties to the Investor Litigation filed an Agreed Motion to Stay Proceedings for a 120-

day period in anticipation that some of the questions relating to the application of SLUSA and

the Roland Order to the Investor Plaintiffs’ claims against the BDO Entities might be clarified or

resolved during this period. An Agreed Order granting the requested stay was entered on

September 16, 2011.

         17.      On January 6, 2012, the parties filed an Agreed Motion to Extend Stay of

Proceedings, based upon the appeal of the Roland Order to the Fifth Circuit, along with similar

orders entered in Troice v. Proskauer Rose, LLP, No. 3:09-cv-01600-N, and Troice v. Willis of



MOTION TO APPROVE SETTLEMENT WITH BDO                                                               10
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                  Page 11 of 49 PageID 373



Colorado, Inc., et al., No. 3:09-cv-01274-N. All three matters were consolidated for appeal at the

Fifth Circuit. The parties sought to stay the Investor Litigation until May 31, 2012, which the

parties believed would give them time to consider the ruling of the Fifth Circuit and its impact on

this case. An Agreed Order staying the case until May 31, 2012 was entered on January 13,

2012.

         18.      On May 25, 2012, the parties filed another Agreed Motion to Extend the Stay

until October 12, 2012, because the Fifth Circuit had reversed the Roland Order on March 19,

2012, and had denied appellees’ Petition for Rehearing En Banc. It was understood that one or

more of the appellees intended to file a Petition for Writ of Certiorari with the United States

Supreme Court. The Court granted the stay on May 30, 2012, staying the proceedings until

October 12, 2012.

         19.      Beginning on October 12, 2012, the parties filed a series of agreed motions to

extend the stay, ultimately agreeing to extend the stay until 30 days after the Supreme Court’s

determination on the SLUSA issue.

         20.      All of the counsel involved in the prosecution of the litigation against the BDO

Entities were also involved in the successful appeals of the SLUSA issue to the Fifth Circuit and

the United States Supreme Court. But for counsel’s efforts to win the SLUSA appeal, the

Investor Litigation against the BDO Entities could not have proceeded. Fortunately, the SLUSA

appeal was won by the investor plaintiffs in the Roland, Willis and Proskauer cases, allowing the

Investor Litigation to proceed. See Chadbourne & Parke LLP v. Troice, 134 S. Ct. 1058 (2014).

         21.      Following the Supreme Court’s SLUSA decision allowing the Stanford class

action cases to proceed, the parties entered into a Stipulated Order regarding the time for the



MOTION TO APPROVE SETTLEMENT WITH BDO                                                           11
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                  Page 12 of 49 PageID 374



BDO Entities to respond to the First Amended Complaint and a briefing schedule.

         22.      BDO USA, BDO International, BDO Global and Brussels Worldwide filed their

Motions to Dismiss Plaintiffs’ First Amended Complaint on July 11, 2014. BDO USA’s Motion

raised the same arguments in support of dismissal as their Motion to Dismiss Plaintiffs’ Original

Complaint. BDO International, BDO Global and Brussels Worldwide each moved to dismiss

under Rule 12(b)(2) alleging they were not subject to the Court’s personal jurisdiction, and BDO

International and Brussels Worldwide sought dismissal under Rule 12(b)(6) on the ground that

they did not exist at the time of the events giving rise to Plaintiffs’ causes of action. They also

incorporated all of the arguments made by BDO USA in favor of dismissal.

         23.      Before the deadline for Plaintiffs to respond to the Motions to Dismiss, counsel

for the BDO Entities contacted Plaintiffs’ counsel to indicate they would be seeking to compel

arbitration of the claims in the Committee Litigation pursuant to the engagement agreements

between BDO USA and the Stanford audit clients, which engagement agreements also required

the parties to mediate in advance of arbitration. Thus, the parties agreed that it made sense to

mediate all of the claims asserted in the Investor Litigation and Committee Litigation

simultaneously to attempt to reach a global resolution of the issues between all Plaintiffs and the

BDO Entities.

         24.      That mediation, which resulted in the BDO Settlement, occurred on August 28,

2014, and is discussed in more detail below. The BDO Settlement resolves both the Investor

Litigation and the Committee Litigation.

D.       The Committee Litigation

         25.      The Committee’s Original Complaint in the Committee Litigation was filed on



MOTION TO APPROVE SETTLEMENT WITH BDO                                                           12
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                  Page 13 of 49 PageID 375



May 9, 2012. The same four BDO entities named in the Investor Litigation were named in the

Original Complaint in the Committee Litigation. The primary claim asserted by the Committee

against the BDO Entities was the audit malpractice (negligence) claim; however, the Committee

also asserted claims against the BDO Entities for aiding, abetting or participation in breaches of

fiduciary duty, aiding, abetting or participation in fraudulent transfers, aiding, abetting or

participation in conversion, and civil conspiracy. The Committee asserted all claims against the

BDO Entities pursuant to an Assignment of such claims from the Receiver to the Committee.

Additionally, the Committee asserted the claims as a representative of the Stanford Investors,

pursuant to this Court’s holdings that the Committee has independent standing as an

unincorporated association.

         26.      The Committee Litigation was not reassigned within the Northern District to this

Court until September 5, 2012.

         27.      On October 12, 2012, the parties filed an Agreed Motion for Extension of Time

for the BDO Entities to answer or otherwise respond to the Complaint. On October 19, 2012, the

Court entered a Stipulated Order setting a deadline of February 15, 2013, for the BDO Entities to

respond to the Complaint.

         28.      The Committee then determined that the Complaint would be amended, so the

Court entered a Joint Stipulation and Order relieving the BDO Entities of the obligation to

respond until the Committee filed an Amended Complaint. The Committee filed a First

Amended Complaint on May 13, 2014.

         29.      Before the BDO Entities’ deadline to respond to the First Amended Complaint,

Defendant BDO USA informed the Committee that it intended to file a motion to compel



MOTION TO APPROVE SETTLEMENT WITH BDO                                                          13
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                  Page 14 of 49 PageID 376



arbitration pursuant to the terms of the engagement letters between BDO and the Stanford audit

clients SGC, STC and SGH. After careful consideration of the pros and cons of arbitration, the

Committee agreed to arbitrate the Committee claims against BDO USA, as the Committee

believed the claims were meritorious and that arbitration would result in a quicker and more

efficient resolution of the claims.

         30.      Pursuant to the BDO USA engagement agreements, the parties were required to

mediate before going to arbitration. Thus, the parties selected former United States District Judge

Layn Phillips to mediate the dispute, and the Investor Plaintiffs agreed to participate in an effort

to achieve a global resolution of the Investor Litigation and the Committee Litigation.

E.       Mediation

         31.      Mediation was held with the Hon. Layn Phillips in New York on August 28,

2014. Former Judge Phillips, then with the law firm Irell & Manella, has extensive experience

mediating accounting and audit malpractice cases, having mediated and successfully resolved

some of the largest accounting and audit malpractice cases in recent U.S. history.

         32.      Prior to mediation, Plaintiffs’ counsel continued its investigation of both the

Committee’s and Investor Plaintiffs’ claims against the BDO Entities, including review of the

BDO depositions, documents, emails and work papers obtained by the SEC, as well as other

investigation materials. Counsel also worked with an audit malpractice expert to further evaluate,

refine and formulate the basis of Plaintiffs’ claims against the BDO Entities, including the

applicable GAAS principles that Plaintiffs contended were violated. That led to the production of

a draft expert report that was confidentially shared with the mediator and was instrumental in the

settlement process.



MOTION TO APPROVE SETTLEMENT WITH BDO                                                            14
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                   Page 15 of 49 PageID 377



         33.      Layn Phillips required the parties to exchange mediation position papers, together

with exhibits and supporting authorities on July 22, 2014, so that each side could see the other

side’s arguments, evidence and authorities in support of their claims and defenses in advance of

the mediation. He also required the parties to exchange reply papers with supporting exhibits and

authorities on August 19, 2014. Finally, he required that the parties exchange proposed “term

sheets” to identify issues that would need to be addressed in any final settlement agreement.

         34.      The mediation lasted a full day with numerous back and forth offers and demands,

ultimately resulting in the $40 million settlement for which approval is sought in this motion.

Without the tireless effort of the Receiver, the Committee, Investor Plaintiffs and their counsel in

investigating and prosecuting these claims as part of the overall effort to recover money from

third parties for the benefit of Stanford Investors, the settlement could never have been achieved,

and the Committee and Investor Litigation would have dragged on for years with an uncertain

outcome and great expense to the parties.

         35.      But for the BDO Settlement, the parties had agreed that the Committee Litigation

would be dismissed and an arbitration complaint filed with AAA in Houston, Texas, as required

by the BDO USA engagement letters. While arbitration might be more efficient in terms of

getting to trial more quickly, arbitration would also have involved the substantial expense of

paying three arbitrators (the agreement called for one arbitrator to be selected by each side and a

third to be selected by those two) as well as the administrative fees of AAA. The Investor

Litigation would almost certainly have taken several years to resolve, with an uncertain outcome.

         36.      Since mediation on August 28, 2014, the Parties have spent over 8 months

drafting, revising and negotiating the form and terms of the BDO Settlement Agreement, the Bar



MOTION TO APPROVE SETTLEMENT WITH BDO                                                            15
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                  Page 16 of 49 PageID 378



Order, the Judgment and Bar Order, the Notice and the Scheduling Order, for which the Parties

now move for approval.

F.       Plaintiffs’ and Examiner’s Support of Settlement

         37.      Plaintiffs are confident that the investigation of the BDO Entities’ activities

related to Stanford performed by their counsel has been thorough and are confident that said

investigation has provided them with sufficient information to enter into and endorse the BDO

Settlement. Plaintiffs are also confident that the BDO Settlement is fair and reasonable taking

into consideration not only the merits of the claims, but also the risks, uncertainties, and

expenses associated with litigation. Further, due to the limits of BDO’s insurance, and the

competing demands on the same insurance from other sources, Plaintiffs believe that the BDO

Settlement fairly balances considerations of collectability of any judgment that could be

obtained. Therefore, Plaintiffs believe that the BDO Settlement is in the best interests of the

Stanford Receivership Estate and the Stanford Investors and should be approved by the Court.

The Chairman of the Committee, who oversaw the Committee Litigation and participated in the

settlement negotiations and mediation, is also the Court-appointed Examiner, and he supports

this Motion in both capacities, as does the Receiver, who assigned the Receiver’s claims to the

Committee for prosecution.

         38.      The Investor Plaintiffs also support the BDO Settlement and believe it is in the

best interests of all Stanford Investors, and request that the Court approve it. As part of the BDO

Settlement, the Investor Plaintiffs have agreed to dismiss the Investor Litigation with prejudice.

All Stanford Investors have been given notice of the Receivership and the claims process, and

the vast majority of them have filed claims and are participating in the Receivership distribution



MOTION TO APPROVE SETTLEMENT WITH BDO                                                           16
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                    Page 17 of 49 PageID 379



process. Furthermore, Stanford Investors who wish to participate in a distribution of the proceeds

of the BDO Settlement but have not submitted claims to the Receiver or to the Antiguan Joint

Liquidators as of the date of the Notice (“Outstanding Claims”) are being provided the

opportunity to submit Outstanding Claims to the Receiver for review and consideration. The

BDO Settlement therefore “permits [Stanford Investors] to pursue their claims by ‘participating

in the claims process for the Receiver’s ultimate plan of distribution for the Receivership

Estate.’” SEC v. Kaleta, 530 F. App’x 360, 362 (5th Cir. 2013). The BDO Settlement, Bar Order,

Judgment and Bar Order, and the dismissal of the Investor Litigation, protects all interested

parties, both the BDO Released Parties and the Stanford Investors.

         39.      There would be uncertainty and delay in certifying a settlement class involving all

Stanford Investors who reside in multiple countries throughout the world, and such a class would

be duplicative with respect to the Stanford Investors who are already participating in the

Receivership claims and distribution process. All Stanford Investors have been given years to

file claims with the Receiver, and the Receiver is giving the Outstanding Claims another

opportunity to file a claim for review and consideration by the Receiver. It is far more efficient

and saves substantial costs to distribute the settlement funds through the court-approved

Receivership distribution process rather than create an entirely separate and parallel class action

claims and settlement distribution process. A class action settlement process would result in

substantial delay and less money flowing to investors. The Receivership settlement and bar

order, together with a dismissal of the Investor Lawsuit, protects all interested parties, both the

Defendants and the Stanford investors.




MOTION TO APPROVE SETTLEMENT WITH BDO                                                             17
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                               Page 18 of 49 PageID 380



    G.   The BDO Settlement

         40.      The proposed BDO Settlement is the result of many years and thousands of hours

of work by the Receiver, the Committee, Investor Plaintiffs and the undersigned counsel, and

was negotiated and entered into as a result of arm’s-length negotiation at mediation facilitated by

the Hon. Layn Phillips.

         41.      The essential terms of the BDO Settlement Agreement, attached as Exhibit 1 to

the Appendix, are that:

               a) BDO USA will pay $40 million, which will be deposited with the Receiver as
                  required pursuant to the Settlement Agreement;

               b) Plaintiffs will fully release the BDO Released Parties from Settled Claims, e.g.
                  claims arising from or relating to Allen Stanford, the Stanford Entities, or any
                  conduct by the BDO Released Parties relating to Allen Stanford or the Stanford
                  Entities;

               c) The BDO Settlement requires entry of a Judgment and Bar Order in the
                  Committee Litigation and entry of a Bar Order in the SEC Action, each of which
                  permanently enjoins Interested Parties, including all Stanford Investors and
                  Claimants, as well as Stanford Investors with Outstanding Claims (see Paragraph
                  f), from bringing any legal proceeding and/or asserting, encouraging, assisting, or
                  prosecuting any cause of action, including contribution claims, arising from or
                  relating to a Settled Claim against the BDO Released Parties;

               d) The Receiver will disseminate notice of the BDO Settlement to Interested Parties,
                  through one or more of the following as set forth in the BDO Settlement
                  Agreement, ¶¶ 29-30: mail, email, international delivery, CM/ECF notification,
                  facsimile transmission, and/or publication on the Examiner (www.lpf-
                  law.com/examiner-stanford-financial-group/) and Receiver (http:// www.stanford
                  financialreceivership.com) web sites;

               e) The Receiver will develop and submit to the Court for approval a plan for
                  disseminating the Settlement Amount (“Distribution Plan”); 9


9
  In the motion seeking approval of the Distribution Plan, the Receiver will seek authority to distribute $5,000 of the
settlement amount to Philip Wilkinson and $21,500 of the settlement amount to Pam Reed in acknowledgement of
their participation as named plaintiffs. To the extent these amounts exceed the amounts distributed to other investors
in the same distribution, the excess amounts will be treated as advances towards future distributions to Mr.


MOTION TO APPROVE SETTLEMENT WITH BDO                                                                               18
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                      Page 19 of 49 PageID 381



               f) Any Stanford Investor who has not submitted a claim to either the Receiver or to
                  the Joint Liquidators as of the date of the Notice (“Outstanding Claims”), may
                  seek to participate in the Distribution Plan, and potentially to participate in future
                  distributions of funds obtained by the Receivership as a result of future litigation
                  settlements or recoveries, by submitting a Proof of Claim Form within 75 days of
                  the Court’s entry of the Scheduling Order, which Proof of Claim will be subject to
                  review and determination by the Receiver.

               g) Under the Distribution Plan, once approved, the Net Settlement Amount will be
                  distributed by the Receiver, under the supervision of the Court, to Stanford
                  Investors who have submitted claims that have been allowed by the Receiver;

               h) Stanford Investors who accept funds from the BDO Settlement Amount will, upon
                  accepting the funds, fully release the BDO Released Parties from any and all
                  Settled Claims; and

               i) The Investor Litigation will be dismissed with prejudice, with each party bearing
                  their own costs and attorneys’ fees, and the Judgment and Bar Order will be
                  entered in the Committee Litigation.

Copies of the BDO Settlement Agreement, this Motion, and other supporting papers may be

obtained from the Court’s docket, and are also available on the websites of the Receiver

(http://www.stanfordfinancialreceivership.com) and the Examiner (www.lpf-law.com/examiner-

stanford-financial-group/). Copies of these documents may also be requested by email to Ruth

Clark, at rclark@neliganlaw.com, or by calling Ruth Clark at 214-840-5315.

         42.      For the reasons described herein, the BDO Settlement is fair, equitable, and

reasonable, and is in the best interests of the Receivership Estate and all those who would claim

substantive rights to distribution of its assets. Plaintiffs urge the Court to approve it.

      III. REQUEST FOR APPROVAL OF THE BDO SETTLEMENT AGREEMENT

 A.      Legal Standards

         43.      “‘[T]he district court has broad powers and wide discretion to determine the



Wilkinson and Ms. Reed.


MOTION TO APPROVE SETTLEMENT WITH BDO                                                                19
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                 Page 20 of 49 PageID 382



appropriate relief in an equity receivership.’” SEC v. Kaleta, 530 F. App’x 360, 362 (5th Cir.

2013) (quoting Safety Fin. Serv., 674 F.2d 368, 372-73 (5th Cir. 1982)). “These powers include

the court’s ‘inherent equitable authority to issue a variety of “ancillary relief” measures in

actions brought by the SEC to enforce the federal securities laws.’” Id. (quoting SEC v. Wencke,

622 F.2d 1363, 1369 (9th Cir. 1980)). “Such ‘ancillary relief’ includes injunctions to stay

proceedings by non-parties to the receivership.” Id. (citing Wencke and SEC v. Stanford Int’l

Bank Ltd., 424 F. App’x 338, 340 (5th Cir. 2011)). “[N]o federal rules prescribe a particular

standard for approving settlements in the context of an equity receivership; instead, a district

court has wide discretion to determine what relief is appropriate.” Id. (quoting Gordon v.

Dadante, 336 F. App’x 540, 549 (6th Cir. 2009)). Congress enacted a “loose scheme” for federal

equity receivers “on purpose” and “wished to expand the reach and power of federal equity

receivers, especially in the context of consolidation.” Janvey v. Alguire, No. 3:09-cv-00724, slip

op. at 31, 34 (N.D. Tex. July 30, 2014).

         44.      Moreover, “courts have consistently held that Congress intended for federal

equity receivers to be utilized in situations involving federal securities laws, like the present

receivership,” and in such cases for the court to act as a court in equity for the benefit of

defrauded investors. See id. at 35 (internal quotation marks omitted); see also 15 U.S.C. § 80a-

41(d). “Now . . . the corporations created and initially controlled by [Stanford] are controlled by

a receiver whose only object is to maximize the value of the corporations for the benefit of their

investors and any creditors.” Janvey v. Alguire, slip op. at 44 (quoting Democratic Senatorial

Campaign Comm., 712 F.3d 185, 191 (5th Cir. 2013) (quoting Scholes v. Lehmann, 56 F.3d 750,

755 (7th Cir. 1995)).



MOTION TO APPROVE SETTLEMENT WITH BDO                                                           20
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                    Page 21 of 49 PageID 383



         45.      The Receivership Order in the SEC Action closely reflects and furthers all of the

above objectives, directing the Receiver to prosecute, defend, and compromise actions in order to

maximize timely distributions to claimants. Second Order ¶ 5; see supra ¶¶ 2-3.

         46.      The ability to compromise claims is critical to this Receivership. Courts have long

emphasized that public policy favors settlement. See, e.g., Lydondell Chem. Co. v. Occidental

Chem. Corp., 608 F.3d 284, 297 n.43 (5th Cir. 2010). That is especially true here, where the

victims of Stanford’s Ponzi scheme await recovery, further costs would come directly out of

those victims’ pockets, and the BDO Settlement would allow the Receiver to make a significant

distribution.

         47.      Consistent with all of the foregoing purposes, this Court has the authority to enter

a bar order prohibiting litigation against settling third parties in receivership cases. Kaleta, 530 F.

App’x. at 362-63 (approving bar order). Bar orders are commonly used in receivership cases to

achieve these purposes. See, e.g., Gordon, 336 F. App’x at 549; SEC v. Parish, No. 2:07-cv-

00919, 2010 WL 8347143, at *4-7 (D.S.C. Feb. 10, 2010) (Norton, C.J.), modified, 2010 WL

8347144 (D.S.C. Apr. 8, 2010); SEC v. Enterprise Trust Co., No. 1:08-cv-01260, slip op. at 2

(N.D. Ill. Jan. 29, 2009); Harmelin v. Man Fin. Inc., Nos. 06-1944, 05-2973, 2007 WL 4571021,

at *4-5 (E.D. Pa. Dec. 28, 2007); CFTC v. Equity Fin. Grp., No. 04-1512, 2007 WL 2139399, at

*2 (D.N.J. July 23, 2007).

         48.      The bar order will “prevent duplicative and piecemeal litigation that would only

dissipate the limited assets of the Receivership Estate and thus reduce the amounts ultimately

distributed by the Receiver to the claimants” and “protect the [settling parties] from re-litigation

of potentially duplicative liabilities.” SEC v. Temme, No. 4:11-cv-655, 2014 WL 1493399, at *2



MOTION TO APPROVE SETTLEMENT WITH BDO                                                               21
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                                  Page 22 of 49 PageID 384



(E.D. Tex. Apr. 16, 2014) (following Kaleta and approving bar order).

         49.      In fact, the Fifth Circuit in Kaleta stated that a district court was within its

discretion to enter a bar order, such as the ones requested here, if (i) the bar order is

“necessary . . . for securing” the settlement payment; (ii) the settlement agreement “expressly

permits” those affected by the bar order “to pursue their claims by ‘participating in the claims

process for the Receiver’s ultimate plan of distribution for the Receivership Estate”; and (iii) the

scope of the bar order is appropriately tailored to achieve these objectives. See Kaleta, 530 F.

App’x at 362-63. The BDO Settlement satisfies each of these requirements.

         50.      District courts in this Circuit have also looked to factors such as: (1) the value of

the proposed settlement; (2) the value and merits of the receiver’s potential claims; (3) the risk

that litigation would dissipate the receivership assets; (4) the complexity and costs of future

litigation; (5) the implications of any satisfaction of an award on other claimants; (6) the value

and merits of any foreclosed parties’ potential claims; and (7) other equities incident to the

situation. SEC v. Kaleta, No. 4:09-3674, 2012 WL 401069, at *4 (S.D. Tex. Feb. 7, 2012), aff’d,

530 F. App’x 360 (5th Cir. 2013).10

         51.      In Kaleta, the court approved a receivership settlement and entered a bar order

prohibiting litigation, including claims of investors, against the settling parties. Id. at *4. The


10
   This is neither a class action nor a case under Title 11 of the United States Code. Thus, though they are not
binding here, both class action and Title 11 cases define tests for approving the aggregate settlements that may be
tailored for a receivership case such as this one. See, e.g., Newby v. Enron Corp., 394 F.3d 296, 301 (5th Cir. 2004)
(class action); In re Moore, 608 F.3d 253, 263 (5th Cir. 2010) (Title 11 bankruptcy). Broadly speaking, before
approving a global settlement the Court must determine that the settlement (i) is reached after arm’s-length
negotiations; (ii) provides relief commensurate with the risks and expenses of litigating the claim to judgment; and
(iii) represents the considered opinions of the parties and their counsel, and has the support of persons appointed to
represent those who ultimately benefit from the settlement. For the same reasons that the BDO Settlement satisfies
the factors set forth in the decision of the district court in Kaleta, and as set forth herein, the BDO Settlement easily
satisfies the tests set out in Newby or Moore.


MOTION TO APPROVE SETTLEMENT WITH BDO                                                                                  22
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                   Page 23 of 49 PageID 385



Fifth Circuit’s opinion noted that, like the BDO Settlement here, “the settlement expressly

permits Appellants and other investors to pursue their claims by ‘participat[ing] in the claims

process for the Receiver’s ultimate plan of distribution for the Receivership Estate.’” Id. at 362.

B.       The BDO Settlement Satisfies the Factors for Settlement Approval

         (1)      Value of the Proposed Settlement

         52.      The $40 million payment in the BDO Settlement is substantial, representing the

largest Stanford litigation settlement to date. “A proposed settlement need not obtain the largest

conceivable recovery . . . to be worthy of approval; it must simply be fair and adequate

considering all the relevant circumstances.” Klein v. O’Neal, Inc., 705 F. Supp. 2d 632, 649

(N.D. Tex. 2010). In the absence of evidence otherwise, a district court may conclude that a

proposed settlement amount is sufficient. Kaleta, 2012 WL 401069, at *4. Moreover, no federal

rules prescribe a particular standard for approving settlements in the context of an equity

receivership; instead, a district court has wide discretion to determine what relief is appropriate.

Gordon, 336 F. App’x at 549. The value of the BDO Settlement to the Receivership Estate and

Stanford’s victims is significant.

         (2)      Value and Merits of the Receiver and Stanford Investors’ Potential Claims

         53.      Plaintiffs of course believe that the claims filed against the BDO Entities in the

Committee and Investor Litigation are meritorious and would be successful. However, they are

not without substantial risk and uncertainty, and the ability to collect a judgment is also not

without risk and uncertainty, particularly in light of the BDO Entities’ diminishing insurance

proceeds. Needless to say, the BDO Entities vigorously dispute the validity of the claims asserted

in the Committee and Investor Litigation, and have filed motions to dismiss those claims on



MOTION TO APPROVE SETTLEMENT WITH BDO                                                             23
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                   Page 24 of 49 PageID 386



which there have been no rulings.

         54.      The primary claim in the Committee Litigation is a negligence claim for audit

malpractice. While the Receiver and the Committee believe strongly in the viability of the audit

malpractice claim because of the interrelationship and size of transactions between the BDO

audit clients (SGC, STC and SGH) and their affiliate bank in Antigua, SIBL, BDO disputes

liability on those claims because it was not the auditor for SIBL,

         55.      BDO further contended, despite the Committee’s contention that the discovery

rule applied to toll the two-year statute of limitations, that the audit malpractice claim was time

barred. While the Committee takes comfort in this Court and the Fifth Circuit’s prior decisions

with regard to the applicability of the discovery rule with respect to the Receiver’s claims, the

factual issue of when the Receiver in the exercise of reasonable diligence should have discovered

the basis of the claims asserted against BDO creates some uncertainty and risk with respect to the

audit malpractice claims.

         56.      Finally, even if the Committee obtained a favorable judgment on its claims, there

are issues as to the collectability of the judgment. Because accounting firms, like law firms,

distribute their income to the partners annually and only make money by the partners and

employees continuing to work to generate additional revenue and receivables, the only assets of

an accounting firm other than insurance that are really available to satisfy a judgment are

furniture, fixtures and equipment of limited value, cash, and receivables that are uncollected at

the time of execution on a judgment. Thus, availability of insurance is the primary driver of

collectability of any judgment in a case such as this.

         57.      BDO’s insurance policies and limits were confidentially disclosed to the



MOTION TO APPROVE SETTLEMENT WITH BDO                                                           24
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                   Page 25 of 49 PageID 387



Committee’s counsel and the mediator prior to the mediation, and the settlement amount

represents a significant portion of BDO’s available insurance limits when taking into

consideration competing claims against BDO, which claims were made within the same

insurance policy period applicable to the Committee’s claims. One of the competing claims

against BDO during the same policy period involved an alleged claim of $20 million in damages

and was set for trial in December 2014 at the time of the mediation. While that case has been

reset for trial later this year, it remains pending. In contrast, the Investor Litigation has not yet

been set for trial and the Committee Litigation would have to be filed with AAA in Houston if

there were no settlement, with an uncertain final hearing date. Even in arbitration, it is unlikely

the Committee could get to a final hearing sooner than a year from now. Furthermore, dismissal

motions remain pending in the Committee and Investor Litigation, with uncertain outcomes.

Thus, there was substantial risk that an adverse judgment in the competing case, together with

defense costs of several hundred thousand dollars per month being incurred by BDO, would

significantly deplete the insurance available to pay the Committee’s claims if and when they

resulted in a favorable judgment. All of these factors favored settlement at the amount achieved,

and Movants believe they obtained in settlement every available dollar of the insurance that

BDO and its insurers would be willing to devote to the settlement of the Committee and Investor

Litigation without leaving themselves exposed with no remaining insurance to cover other claims

and defense costs that fall within the same policy period.

         58.      Among others, the following issues are hotly contested and promise years of

uncertain litigation:

                  a. whether the Committee could prevail on its audit malpractice claim even



MOTION TO APPROVE SETTLEMENT WITH BDO                                                             25
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                    Page 26 of 49 PageID 388



                     though the BDO Entities were not the auditor for SIBL;

                  b. whether the discovery rule tolled the limitations periods applicable to

                     Plaintiffs’ claims and for how long after the receivership was filed;

                  c. whether the BDO Entities had sufficient knowledge under the TSA to meet

                     the recklessness standard for an aiding-and-abetting claim; and

                  d. whether, after a successful judgment, Plaintiffs would be able to collect any

                     more than the Settlement already offers.

         59.      For these and other reasons, but for the BDO Settlement, the Investor Litigation

and the Committee Litigation would be vigorously defended, they would be expensive and

protracted further depleting available insurance, and the ultimate outcome of such litigation

would be uncertain. In light of these issues, Plaintiffs believe that the BDO Settlement very

much reflects a fair and reasonable compromise between the parties.

         60.      While Plaintiffs believe they would ultimately prevail on both liability and

damages, success is far from assured and would only be possible after years of litigation. The

settlement payment represents a significant recovery for the Stanford Investors, while avoiding

the burden, costs, delay, and risks incident to continued litigation, with an uncertain outcome.

         (3)      The Risk that Litigation Would Dissipate Receivership Assets

         61.      The BDO Entities would undoubtedly vigorously defend themselves in the

Committee and Investor Litigation. Plaintiffs believe that litigation against the BDO Entities

would most likely go on for years, with no guaranty of a recovery. Arbitration of the

Committee’s claims would dissipate Receivership assets due to the expense of paying three

arbitrators at their hourly rates as well as the AAA administration fees. While Plaintiffs’



MOTION TO APPROVE SETTLEMENT WITH BDO                                                              26
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                   Page 27 of 49 PageID 389



litigation counsel have entered into contingent fee arrangements with Plaintiffs to prosecute the

claims, the Receiver and the Examiner are paid by the hour and are involved in overseeing the

litigation and coordinating strategy with the overall Stanford Receivership case and other

litigation. The BDO Settlement avoids further expense associated with the arbitration and

continued monitoring and oversight of this case by the Receiver and the Committee

Chairman/Examiner.

         62.      Furthermore, as part of their fee agreement with their counsel, the Committee has

agreed with the Receiver that the Receiver would fund or reimburse all expenses associated with

the Committee’s litigation against the BDO Entities, including, inter alia, expert fees and out of

pocket litigation expenses (depositions, court reporters, videographers, travel, copy expenses,

etc.). Because the case against the BDO Entities involves claims of professional malpractice,

expert witness testimony is necessary, and would be significant going forward if the Lawsuits are

not settled. Expert testimony would be needed to prove the details of the Stanford Ponzi scheme,

as well as the audit malpractice, causation and damages. Absent the BDO Settlement, expert

witness fees could easily have run into the hundreds of thousands of dollars. Other out of pocket

litigation costs would be substantial (given that formal discovery has not even begun in these

Lawsuits ) if the Lawsuits are not settled, including costs of oral and video depositions of all fact

and expert witnesses, production of voluminous records and emails and other electronically

stored information, travel associated with depositions, preparation of expert witness reports, trial

graphics, cost of reproduction of documents and trial exhibits, retrieval and storage of email and

other electronically stored information, and attendance of experts at trial. Total out of pocket

costs to prosecute the litigation could easily reach $1 million or more due to the complex nature



MOTION TO APPROVE SETTLEMENT WITH BDO                                                             27
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                  Page 28 of 49 PageID 390



of the claims, the need for expert testimony and the voluminous nature of the records involved.

         (4)      The Complexity and Costs of Future Litigation

         63.      The prosecution of the Committee and Investor Litigation would undoubtedly be

challenging and expensive, as discussed above. As the Court is aware, the facts and legal

analysis of Stanford’s Ponzi scheme are extraordinarily complex, as evidenced by the Direct

Testimony of Karyl Van Tassel in the Chapter 15 proceeding, as well as all of the lengthy

Declarations with voluminous supporting exhibits that she has filed with this Court to prove the

facts of the Stanford Ponzi scheme. There is no question that the Committee and Investor

Litigation involving claims of audit malpractice and aiding and abetting under the TSA,

involving billions of dollars in damages and an international Ponzi scheme involving a complex

web of interrelated international companies that spanned nearly 20 years, is extraordinarily

complex, and would cause the Receivership Estate to incur substantial expense to litigate to final

judgment. As stated above, litigation costs could easily exceed $1 million.

         (5)      The Implications of the BDO Entities’ Settlement Payment on Other Claimants

         64.      As the Fifth Circuit stressed in Kaleta, “investors [can] pursue their claims by

‘participating in the claims process for the Receiver[ship].’” Kaleta, 530 F. App’x at 362. The

Receiver is not collecting the BDO Entities’ settlement payment for Allen Stanford or for Mr.

Janvey, but for the Stanford Investors. Indeed, as part of the BDO Settlement, the Receiver has

agreed to give notice to Stanford Investors with Outstanding Claims who wish to participate in a

distribution of the proceeds from the BDO Settlement of a deadline by which they must submit a

claim to the Receiver for review and consideration, so that they have a potential opportunity to

participate in the BDO settlement and future receivership litigation settlements and recoveries.



MOTION TO APPROVE SETTLEMENT WITH BDO                                                             28
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                   Page 29 of 49 PageID 391



Thus, the relief Plaintiffs request will further “[t]he primary purpose of the equitable receivership

[which] is the marshaling of the estate’s assets for the benefit of all the aggrieved investors and

other creditors of the receivership entities.” Parish, 2010 WL 8347143, at *6 (approving

settlement and bar order). For the reasons stated, the Investor Plaintiffs support the structure of

the settlement, as it saves substantial time and expense over a class settlement which would

require a duplicative claims and distribution process.

         (6)      The Value and Merits of Any Foreclosed Parties’ Potential Claims

         65.      Plaintiffs are conscious of the fact that the Bar Order they are requesting, and

which is a condition to the BDO Settlement, will preclude Stanford Investors and others from

asserting claims against the BDO Entities in connection with its involvement with the Stanford

enterprise. However, no investors (other than the Investor Plaintiffs) have asserted any claims

against the BDO Entities in the six years since the Receivership was created, the cost of doing so

in any individual investor lawsuit would be prohibitive, and any such investors asserting claims

would face the same legal, factual and collectability challenges faced by the Plaintiffs, as

discussed above.

         66.      Given that all Stanford Investors have been put on notice of the Receivership,

have been given the opportunity to file claims in the Receivership, and that the vast majority of

the Stanford Investors have filed claims and are already participating in the distribution process,

the Stanford Investors’ rights are not being prejudiced in any way by the BDO Settlement. They

have all had the opportunity to participate through the pre-existing receivership claims process. It

would be detrimental to the Stanford Investors to reinvent the wheel through a class settlement

procedure, which would result in the same pool of Stanford Investors having the right they



MOTION TO APPROVE SETTLEMENT WITH BDO                                                             29
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                    Page 30 of 49 PageID 392



already have through the Receivership claims and distribution process to participate in the BDO

Settlement.

         67.      Plaintiffs believe that the Bar Order should be approved because it is in the

collective best interest of all Stanford Investors. The Bar Order should not be rejected based

upon the theoretical possibility that some individual investor(s) or counsel might have otherwise

wished to pursue individual claims against the BDO Entities in the future, particularly given that

no such claims have been filed for six years since the Receivership was created. See Harmelin v.

Man Fin. Inc., Nos. 06-1944, 05-2973, 2007 WL 4571021, at *4 (E.D. Pa. Dec. 28, 2007)

(approving bar order which would not “in any realistic sense, preclude any investors rights, but

[would] give the settling parties the assurance of peace and [eliminate] any future claim that

might be filed out of spite or for some other vindictive or improper reason”).

         68.      It should also be noted that the Receiver, and the Committee as assignee of the

Receiver’s claims and as the Court-appointed representative of the Stanford Investors, is the only

party with standing to pursue the most valuable claim, with the lowest burden of proof, in this

litigation: the negligence claim based on the BDO Entities’ alleged audit malpractice. No

potential individual litigant owns or could assert that claim. Any such litigant would be required

to bring a TSA or other fraud based claim involving a significantly greater burden of proof. It is

primarily, if not entirely, the threat of the Receiver’s audit malpractice claim, which involves a

simple negligence standard, that has caused the BDO Entities to agree to settle for $40 million.

         69.      For all these reasons, “it is highly unlikely that any such investor could obtain a

more favorable settlement than that proposed in the Settlement Agreement, nor one that could

benefit as many aggrieved investors as stand to be benefited under the Settlement Agreement.”



MOTION TO APPROVE SETTLEMENT WITH BDO                                                              30
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                   Page 31 of 49 PageID 393



Parish, 2010 WL 8347143, at *6 (approving settlement and bar order)

         70.      It also is unlikely that any potential claimant could or would spend the time and

resources necessary to pursue an individual claim against the BDO Entities, especially

considering the expense of such an action would far outweigh any likely individual recovery

against the BDO Entities. Plaintiffs believe that enjoining these speculative and unlikely claims

is, on balance, fair and appropriate to all interested parties, especially when necessary to gain an

immediate and substantial recovery for the Receivership Estate.

         71.      The proposed BDO Settlement represents the best opportunity to provide funds

quickly to Stanford’s victims and to distribute those funds in an orderly fashion, without

consumption of additional expenses or a race to the courthouse by various counsel. Against this

backdrop, the Court should approve the BDO Settlement and enter the Bar Order.

         (7)      Other Equities Attendant to the Situation

         72.      The entry of the bar orders is a material term under the BDO Settlement

Agreement to the BDO Entities, and a necessary condition to the obligations set forth in the

BDO Settlement Agreement. The bottom line is that there is no BDO Settlement without it. The

BDO Entities “would not otherwise secure ‘peace’ from other litigation if any investors were

able to institute their own suit against [the BDO Entities], potentially in other, including foreign,

jurisdictions.” Harmelin, 2007 WL 4571021, at *4 (approving settlement and bar order).

         73.      The BDO Entities have made clear that in consideration of paying $40 million,

they must achieve “global peace” with respect to all Stanford-related claims through the BDO

Settlement, wholly and finally. The BDO Entities have stated that they would not enter into the

BDO Settlement without securing global peace and the avoidance of the expense of further



MOTION TO APPROVE SETTLEMENT WITH BDO                                                             31
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                   Page 32 of 49 PageID 394



litigation, particularly given what it believes are its strong factual and legal defenses. The

Receiver and the Committee were appointed to protect the interests of the defrauded investors

and other creditors of the Receivership Estate, and to act in a manner that will maximize the

eventual distribution to Estate claimants. The proposed Bar Order will help maximize the

eventual distribution to Estate claimants of BDO USA’s $40 million payment and provide the

BDO Entities the global resolution of Stanford-related litigation that is a necessary condition for

that settlement payment by BDO USA. Plaintiffs believe that the entry of the Bar Order is fully

justified by the settlement amount being paid by BDO USA.

         74.      This Court has already enjoined actions against the Stanford Defendants, the

Receiver, and the Receivership Estate, ordering that “all ... persons are hereby restrained and

enjoined from” without leave:

                  . . . commenc[ing] or continu[ing] . . . any judicial,
                  administrative, or other proceeding against the Receiver, any
                  of the defendants, the Receivership Estate, or any agent,
                  officer, or employee related to the Receivership Estate,
                  arising from the subject matter of this civil action . . . .

Second Order ¶ 9(a). Plaintiffs ask the Court to extend this stay into a permanent injunction and

bar of all claims and potential claims against the BDO Released Parties in order to effectuate the

BDO Settlement.

         75.      Plaintiffs and their counsel spent considerable time and effort to reach a

settlement that is fair and equitable to the Receivership Estate and the defrauded Stanford

Investors. Plaintiffs firmly believe that they could prosecute viable causes of action against the

BDO Entities, though the BDO Entities vigorously deny any wrongdoing or liability, and have

indicated that they firmly believe they would successfully defend any claims against them. The



MOTION TO APPROVE SETTLEMENT WITH BDO                                                           32
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                  Page 33 of 49 PageID 395



BDO Entities also have the resources to defend themselves and to litigate the issues through a

final trial court judgment or arbitration award, and appeal if necessary, which means the

litigation would take years to be resolved without a settlement.

         76.      Plaintiffs believe that the terms of the BDO Settlement Agreement offer the

highest net benefit to the Receivership Estate, in terms of maximizing Receivership assets and

minimizing the expense to obtain them.

         77.      The overall context of the MDL and Stanford Receivership also are relevant to the

equities of the situation. The Stanford Ponzi scheme collapsed in February 2009, and the six

years since have yielded numerous motions and a delay in any substantial recovery for

Stanford’s victims. The parties – on both sides – are confronted by uncertainty, risk and delay. In

this circumstance, the example of settlement is to be encouraged.

         78.      It additionally bears on the equities that Stanford’s victims, including a vast

number of retirees, are aging. For many of Stanford’s victims, recovery delayed is recovery

denied. The time that Stanford’s victims have waited to date should not be extended further in

pursuit of additional uncertainty and delay.

         79.      The equities of the BDO Settlement, including its necessary bar order, are also

enhanced by the participation and endorsement of the various parties specially constituted to

pursue recovery for Stanford’s victims. The Receiver, the Examiner, the Committee, and the

Investor Plaintiffs have cooperated and joined together in the BDO Settlement. In this complex

international fraud, this level of coordination and quality of resolution are eminently desirable.

The roles and obligations of each of the foregoing parties enhance the equities attending this

outstanding conclusion to many years of litigation. The result of this coordination will be the



MOTION TO APPROVE SETTLEMENT WITH BDO                                                           33
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                            Page 34 of 49 PageID 396



most orderly distribution to Stanford’s victims that possibly can be achieved.

         80.      The Court is well within its discretion to approve the BDO Settlement. In Kaleta,

for example, the SEC filed suit against the defendants for violating federal securities laws and

defrauding investors. Kaleta, 2012 WL 401069, at *1. The trial court appointed a receiver with

similar rights and duties to the Stanford Receiver, including the duty “to preserve the

Receivership Estate and minimize expenses in furtherance of maximum and timely

disbursements to claimants.” Id. The Kaleta receiver settled with third parties, and agreed to a

bar order precluding claims against them related to the receivership. The trial court approved the

settlement and the bar order, and the Fifth Circuit affirmed. Kaleta, 530 F. App’x at 362-63.

         81.      In approving the bar order, the district court noted the receiver’s “goal of limiting

litigation” related to the settling third parties and the Receivership Estate. Kaleta, 2012 WL

401069, at *7. “The Bar Order advances that goal by arranging for reasonably prompt collection

of the maximum amount of funds possible from the [settling third parties] under the present

litigation and financial circumstances.” Id.

         82.      In another recent case, a Texas federal district court approved a receivership

settlement and entered a bar order preventing litigation against the settling parties. SEC v.

Temme, No. 4:11-cv-655, 2014 WL 1493399 (E.D. Tex. Apr. 16, 2014). The bar order was

intended to “prevent duplicative and piecemeal litigation that would only dissipate the limited

assets of the Receivership Estate and thus reduce the amounts ultimately distributed by the

Receiver to the claimants” and to “protect the [settling third parties] from re-litigation of

potentially duplicative liabilities.” Id. at *2.11


11
         The Temme court also approved a similar settlement agreement and bar order preventing litigation against


MOTION TO APPROVE SETTLEMENT WITH BDO                                                                           34
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                          Page 35 of 49 PageID 397



                    IV. REQUEST FOR APPROVAL OF ATTORNEYS’ FEES

A.       Terms of Plaintiffs’ Counsel’s Engagement

         83.      In addition to approving the BDO Settlement, Plaintiffs also request that the Court

approve an award of attorneys’ fees to Neligan Foley LLP (“Neligan Foley”), Castillo Snyder,

P.C. (“Castillo Snyder”), Strasburger & Price, LLP (“Strasburger”), and Butzel Long (“Butzel

Long”) (collectively “Plaintiffs’ Counsel”) under the terms of the fee agreement between

Plaintiffs’ Counsel and the Committee. As reflected in the Declaration of Douglas J. Buncher

(the “Buncher Declaration”), attached as Exhibit 2 to the Appendix in Support of this Motion,

Plaintiffs’ counsel have been jointly handling the Committee and Investor Litigation pursuant to

25% contingency fee agreements with the Committee (in the Committee Litigation) and the

Investor Plaintiffs (in the Investor Litigation). See also Declarations of Edward Snyder, Edward

Valdespino and Peter Morgenstern attached to the Appendix as Exhibits 3, 4 and 5, respectively.

         84.      Pursuant to the fee agreements, the Committee and Investor Plaintiffs seek Court

approval to pay attorneys’ fees to Plaintiffs’ Counsel equal to an aggregate of 25% of the Net

Recovery from the BDO Settlement (i.e., the settlement amount less allowable disbursements).

The gross amount of the settlement to be paid by BDO USA is $40,000,000.00. The

disbursements to be deducted from the settlement amount to calculate the Net Recovery from the

BDO Settlement are $174,938.07, which are expenses previously reimbursed by the Receiver

pursuant to the parties’ fee agreement. Thus, the Net Recovery from the BDO Entities is

$39,825,061.93. 25% of the Net Recovery is $9,956,265.48. This is the fee agreed to be paid to

Plaintiffs’ Counsel by the Committee and the Investor Plaintiffs, and this is the amount of the fee

another settling party. See SEC v. Temme, No. 4:11–cv–655, [Doc. 162] (E.D. Tex. November 21, 2012).



MOTION TO APPROVE SETTLEMENT WITH BDO                                                                  35
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                               Page 36 of 49 PageID 398



for which approval is sought in this Motion.

B.       The Proposed Fee is Reasonable as a Percentage of the Overall Recovery

         85.      Trial courts can determine attorneys’ fee awards in common fund cases such as

this one12 using different methods. One is the percentage method, under which a court awards

fees based on a percentage of the common fund. Union Asset Management Holding A.G. v. Dell,

Inc., 669 F.3d 632, 642–43 (5th Cir. 2012). The Fifth Circuit is “amenable to [the percentage

method’s] use, so long as the Johnson framework is utilized to ensure that the fee award is

reasonable.” Id. at 643 (citing Johnson v. Georgia Hwy. Express, Inc., 488 F.2d 714 (5th Cir.

1974)).13 Thus, when considering fee awards in class action cases “district courts in [the Fifth]

Circuit regularly use the percentage method blended with a Johnson reasonableness check.” Id.

(internal citations omitted); see Schwartz v. TXU Corp., No. 3:02–CV–2243–K (lead case), 2005

WL 3148350, at *25 (N.D. Tex. Nov. 8, 2005) (collecting cases).14

         86.      While the BDO Settlement is not a class action settlement, because the settlement

is structured as a settlement with the Committee, with a Bar Order and dismissal of the Investor

Litigation, this Motion analyzes the award of attorneys’ fees to Plaintiffs’ Counsel under the law

applicable to class action settlements in an abundance of caution. Whether analyzed under the

12
         The common-fund doctrine applies when “a litigant or lawyer who recovers a common fund for the benefit
of persons other than himself or his client is entitled to a reasonable attorney’s fee from the fund as a whole.” In re
Harmon, No. 10-33789, 2011 WL 1457236, at *7 (Bankr.S.D. Tex. April 14, 2011) (quoting Boeing Co. v. Van
Gemert, 444 U.S. 472, 478 (1980)).
13
   The Johnson factors are discussed in Subsection C below.
14
   While the Fifth Circuit has also permitted analysis of fee awards under the lodestar method, both the Fifth Circuit
and other courts in the Northern District have recognized that the percentage method is the preferred method of
many courts. Dell, 669 F.3d at 643; Schwartz, 2005 WL 3148350, at *25. In Schwartz, the court observe that the
percentage method is “vastly superior to the lodestar method for a variety of reasons, including the incentive for
counsel to ‘run up the bill’ and the heavy burden that calculation under the lodestar method places upon the court.”
2005 WL 3148350, at *25. The court also observed that, because it is calculated based on the number of attorney
hours spent on the case, the lodestar method deters early settlement of disputes, such as the settlement in this case.
Id. Thus, there is a “strong consensus in favor of awarding attorneys’ fees in common fund cases as a percentage of
the recovery.” Id. at *26.


MOTION TO APPROVE SETTLEMENT WITH BDO                                                                              36
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                              Page 37 of 49 PageID 399



common fund approach, the Johnson framework, or both, the 25 percent fee sought by Plaintiffs’

Counsel pursuant to their fee agreements is reasonable and should be approved by the Court.

         87.      The proposed 25% amount is a reasonable percentage of the common fund (i.e.

the $40 million settlement). “The vast majority of Texas federal courts and courts in this District

have awarded fees of 25%–33% in securities class actions.” Schwartz, 2005 WL 3148350, at *31

(collecting cases). “Indeed, courts throughout this Circuit regularly award fees of 25% and more

often 30% or more of the total recovery under the percentage-of-the recovery method.” Id.15

Combined with the Johnson analysis set forth below, the proposed fee award is reasonable and

appropriate under the common fund doctrine as applied in the Fifth Circuit.

C.       The Proposed Fee is Reasonable Under the Johnson Factors

         88.      The Johnson factors include: (1) time and labor required; (2) novelty and

difficulty of the issues; (3) required skill; (4) whether other employment is precluded; (5) the

customary fee; (6) whether the fee is fixed or contingent; (7) time limitations; (8) the amount

involved and the results obtained; (9) the attorneys’ experience, reputation and ability; (10) the

“undesirability” of the case; (11) the nature and length of the professional relationship with the

client; and (12) awards in similar cases. See Johnson, 488 F.2d at 717-19. A review of these

factors also reveals that the proposed 25% fee is reasonable and should be approved.

15
   As set forth in Schwartz, courts in the Northern District have routinely approved such awards. See, e.g, Southland
Secs. Corp. v. INSpire Ins. Solutions, Inc., No. 4:00–CV–355y (N.D. Tex. Mar. 9, 2005) (Judge Means) (approving
fee of 30% fee in securities class action); Scheiner v. i2 Techs., Inc., et al., Civil Action No. 3:01–CV–418–H (N.D.
Tex. Oct. 1, 2004) (Judge Sanders) (approving fee of 25% of $80 million settlement in securities class action);
Hoeck v. Compusa, Inc. et al., Civil Action No. 3:98–CV–0998–M (N.D. Tex. Oct. 14, 2003) (Judge Lynn)
(awarding 30% fee); In re Firstplus Fin. Group, Inc. Sec. Litig., Master File No. 3:98–CV–2551–M (N.D. Tex. Oct.
14, 2003) (Judge Lynn) (awarding 30% fee in securities class action); Warstadt v. Hastings Entm't, Inc., et al., Civil
Action No. 2:00–CV–089–J (N.D. Tex. Mar. 10, 2003) (Judge Robinson) (awarding 30% fee in securities class
action); Silver v. UICI, et al., No. 3:99CV2860–L (N.D. Tex. Mar 3, 2003) (Judge Lindsay) (awarding 30% fee in
securities class action); In re Unistar Fin. Serv. Corp. Sec. Litig., No. 3:99–CV–1857–D (N.D. Tex. Aug. 17, 2001)
(approving 30% fee in a securities class action); Kisilenko v. STB Sys., Inc., No. 3:99–CV–2872–M (N.D. Tex. Nov.
3, 2000) (approving 30% fee in a securities class action).


MOTION TO APPROVE SETTLEMENT WITH BDO                                                                             37
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                   Page 38 of 49 PageID 400



         (1)      Time and Labor Required

         89.      As reflected in the Buncher, Snyder, Valdespino and Morgenstern Declarations,

Plaintiffs’ Counsel invested a tremendous amount of time and labor in this case. Even a cursory

review of the Court’s docket in all of these cases reveals the immense amount of work that

Plaintiffs’ counsel have put into the prosecution of all of these lawsuits since 2009. However, the

docket and pleadings only reveal the work that is filed with the Court. As discussed further

herein, and as the Court is aware, the prosecution of lawsuits of this magnitude and complexity

has required a tremendous amount of time and effort to investigate the facts, research the

relevant legal issues, coordinate and strategize with counsel and clients regarding the handling of

the cases, conduct discovery, prepare the briefs and motions, attempt to negotiate settlements,

and prepare cases for summary judgment and/or trial. Plaintiffs’ counsel have spent thousands of

hours since 2009 in their investigation and prosecution of the lawsuits referenced above,

including the Committee and Investor Litigation that are the subject of the settlement.

         90.      Plaintiffs’ counsel have spent over six years and thousands of hours investigating

and pursuing claims against third parties, including the BDO Entities, on behalf of the Stanford

Receivership Estate and the Stanford Investors. Neligan Foley has nearly 7,000 hours and over

$2.8 million worth of attorney and paralegal time invested in the Stanford lawsuits, including the

Committee and Investor Litigation. Neligan Foley was lead counsel among Plaintiffs’ Counsel in

the Committee and Investor Litigation. Neligan Foley has almost 1,200 hours and over $600,000

of unpaid attorney and paralegal time invested in the Committee and Investor Litigation, alone.

See Buncher Declaration. Strasburger & Price also has thousands of hours and millions of

dollars of time invested in pursuing claims against third parties related to the Stanford



MOTION TO APPROVE SETTLEMENT WITH BDO                                                            38
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                Page 39 of 49 PageID 401



Receivership, and 1,507 hours of attorney and paralegal time worth $818,652 attributable to the

BDO litigation. See Valdespino Declaration. Castillo Snyder has over $7 million invested in the

Stanford cases overall, and 696 hours and $402,430 in time invested in the BDO litigation. See

Snyder Declaration. Butzel Long has devoted thousands of hours of time worth several million

dollars to Stanford-related matters since 2009, and has 78.6 hours of time worth $56,500

invested in the BDO cases alone. See Morgenstern Declaration.

         91.      The tremendous amount of work required by Plaintiffs’ counsel to successfully

prosecute the Committee and Investor Litigation against BDO is described in the Buncher,

Snyder, Valdespino and Morgenstern Declarations, the billing records accompanying those

Declarations, and this Motion [See, e.g., Motion ¶¶ 9-11].

         (2)      Novelty and Difficulty of the Issues

         92.      The issues presented in this lawsuit were difficult and complex. Plaintiffs’

Counsel’s investigation revealed that since 1995, BDO USA was the auditor of the most

important businesses of the Stanford empire, including Stanford Group Company (“SGC”),

Stanford’s NASD registered broker-dealer that marketed and sold the SIBL CDs in the United

States, Stanford Trust Company (Louisiana) (“STC”), which Stanford used to sell the CDs to

IRA account holders, and Stanford Group Holdings (“SGH”), the holding company that owned

both SGC and STC. The investigation revealed that while BDO USA conducted an operational

review of Stanford International Bank Ltd. (“SIBL”) in the 1990s in an effort to secure business

from SIBL, and several BDO partners served on the Stanford Antiguan Task Force that was

involved in re-writing the financial regulations of Antigua, BDO USA was not hired for the

business it had solicited from SIBL, and BDO USA was never the auditor for SIBL.



MOTION TO APPROVE SETTLEMENT WITH BDO                                                        39
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                    Page 40 of 49 PageID 402



Investigation further revealed that BDO International, BDO Global, and Brussels Worldwide

were foreign affiliates of BDO USA that formulated policies and procedures for BDO member

firms worldwide, including BDO USA.

         93.      As part of their investigation, Plaintiffs’ Counsel conducted a thorough analysis of

the potential claims against the BDO Entities, considering: claims available under both state and

federal law; the viability of those claims considering the facts underlying the BDO Entities’

business dealings with Stanford and this Court’s previous rulings; the success of similar claims

in other Ponzi scheme cases, both in the Fifth Circuit and elsewhere; as well as defenses raised

by the BDO Entities in their motions to dismiss and mediation position papers. The Investor

Plaintiffs and the Committee commenced their actions by filing their Original Complaints in this

Court on May 26, 2011 (the Investor Litigation) and May 9, 2012 (the Committee Litigation),

respectively. Among other claims, Plaintiffs asserted causes of action against the BDO Entities

for negligence, aiding and abetting violations of the Texas Securities Act (the “TSA”), aiding

and abetting breaches of fiduciary duty, participation in a fraudulent scheme, and conspiracy.

These claims raised complicated and novel issues of law and fact and would have required

intensive discovery and voluminous briefing had they been litigated, many of which were the

subject to the BDO Entities’ comprehensive motions to dismiss in the Investor Litigation. The

BDO Entities had also stated their intention to file similar motions to dismiss in the Committee

Litigation, as well as a motion to compel arbitration, had the Committee Litigation moved

forward.

         94.      The foregoing summary of the issues identified in Plaintiff’s Counsel’s

investigation of the claims against the BDO Entities, as well as the legal issues raised in the



MOTION TO APPROVE SETTLEMENT WITH BDO                                                              40
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                    Page 41 of 49 PageID 403



dismissal pleadings, illustrate the novelty, difficulty and complexity of the issues in the

Committee and Investor Litigation and supports the approval of the proposed fee.

         (3)      Skill Required

         95.      Given the complexity of the factual and legal issues presented in this case, the

preparation, prosecution, and settlement of this case required significant skill and effort on the

part of Plaintiffs’ Counsel. Plaintiffs’ Counsel have represented receivership and bankruptcy

estates on numerous occasions, and are currently serving as counsel for both the Receiver, the

Committee and other investor plaintiffs, both individually and as representatives of putative

classes of Stanford Investors, in multiple other lawsuits pending before the Court. Buncher Decl.

¶¶ 7-9. Plaintiffs submit that the favorable result in this case is indicative of Plaintiff’s counsel’s

skill and expertise in matters of this nature. Id. at ¶¶ 1, 4.

         (4)      Whether Other Employment is Precluded

         96.      Although participation in the Committee and Investor Litigation did not

necessarily preclude Plaintiffs’ Counsel from accepting other employment, the sheer amount of

time and resources involved in investigating, preparing, and prosecuting the Committee and

Investor Litigation, as reflected by the hours invested in the Committee and Investor Litigation

and the Stanford case generally, significantly reduced Plaintiffs’ Counsel’s ability to devote time

and effort to other matters.

         (5)      The Customary Fee

         97.      The 25% fee requested is substantially below the typical market rate contingency

fee percentage of 33% to 40% that most law firms would demand to handle cases of this

complexity and magnitude. See Schwartz, 2005 WL 3148350, at *31 (collecting cases and noting



MOTION TO APPROVE SETTLEMENT WITH BDO                                                               41
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                   Page 42 of 49 PageID 404



that 30% is standard fee in complex securities cases). In certain instances, including the

Committee and Investor Litigation prior to the retention of Neligan Foley, the Committee

interviewed other potential counsel who refused to take on the lead counsel role in the

Committee and Investor Litigation without a higher percentage fee. Buncher Decl. at ¶ 34. In

fact, Plaintiffs’ Counsel initially requested a larger percentage in all of the Stanford lawsuits

because of the complexity and magnitude of the lawsuits, the length of time that it could take to

prosecute the cases to conclusion, the thousands of hours Plaintiffs’ counsel would have to invest

in these cases, and the risk that there might ultimately be no recovery. Id. The Committee and

Investor Litigation and the other third-party lawsuits are extraordinarily large and complex,

involving voluminous records and electronic data and requiring many years of investigation,

discovery and dispositive motions to get to trial. The lawsuits involve significant financial outlay

and risk by Plaintiffs’ Counsel, the risk of loss at trial after years of work for no compensation,

and an almost certain appeal following any victory at trial. Plaintiffs’ Counsel submit that these

factors warrant a contingency fee of more than 25%. Nonetheless, Plaintiffs’ Counsel agreed to

handle the Committee and Investor Litigation on a 25% contingency basis, and that percentage is

reasonable given the time and effort required to litigate these cases, their complexity and the

risks involved.

         (6)      Whether the Fee is Fixed or Contingent

         98.      As set forth above, the fee was contingent upon success against the BDO Entities.

As a result, Plaintiffs’ counsel bore significant risk in accepting the engagement.

         (7)      Time Limitations

         99.      At the time of the BDO Settlement, Plaintiffs were not subject to significant time



MOTION TO APPROVE SETTLEMENT WITH BDO                                                            42
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                  Page 43 of 49 PageID 405



limitations in the Committee and Investor Litigation, as the lawsuits were at the dismissal stage.

However, had the cases not settled, the BDO Entities intended to compel arbitration of the

Committee case [Buncher Decl. at ¶¶ 17-18], and arbitration would have proceeded on a much

faster track to a final hearing. However, the class action case would have remained pending

before the Court and would likely have taken years to resolve. Furthermore, given the magnitude

and complexity of the cases, even if a final arbitration in the Committee Litigation was set a year

in the future, Plaintiffs’ Counsel would have been under significant time pressure to complete all

the investigation and discovery to prepare the case for final hearing within a year.

         (8)      The Amount Involved and Results Obtained

         100.     As discussed further herein, $40 million represents a substantial settlement and

value to the receivership. This factor also supports approval of the requested fee.

         (9)      The Attorneys’ Experience, Reputation and Ability

         101.     As noted above, Plaintiffs’ Counsel have represented numerous receivers,

bankruptcy trustees, and other parties in complex litigation matters related to equity

receiverships and bankruptcy proceedings similar to the Stanford receivership proceeding. See

Buncher Decl. ¶¶ 1, 4. See also Snyder, Valdespino and Morgenstern Declarations. Indeed,

Plaintiffs’ Counsel have been actively engaged in the Stanford proceeding since its inception.

Given the complexity of the issues in the Committee and Investor Litigation, Plaintiffs submit

that the BDO Settlement is indicative of Plaintiffs’ Counsel’s ability to obtain a favorable result

in such proceedings.

         (10)     The Undesirability of the Case

         102.     The Commercial and Investor Litigation are not undesirable.



MOTION TO APPROVE SETTLEMENT WITH BDO                                                           43
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                Page 44 of 49 PageID 406



         (11)     Nature and Length of Professional Relationship with the Client

         103.     As the Court is aware, Plaintiffs’ Counsel have represented the Receiver, the

Committee, and Investor Plaintiffs in numerous actions pending before the Court since 2009. See

Buncher Decl. at ¶¶ 6-8. Plaintiffs’ counsel has handled all of these cases on the same 25%

contingency fee arrangement that has previously been approved by the Court. See SEC Action

ECF No. 1267, p. 2 (“The Court finds that the fee arrangement set forth in the Agreement is

reasonable.”); see also OSIC-Receiver Agreement, SEC Action ECF No. 1208, p. 3 (providing a

“contingency fee” of twenty-five percent (25%) of any Net Recovery in actions prosecuted by

the Committee’s designated professionals). This factor also weighs in favor of approval of the

requested fee.

         (12)     Awards in Similar Cases

         104.     As noted above, a 25% contingency fee has previously been approved as

reasonable by this Court in its order approving the Receiver’s agreement with the Committee

regarding the joint prosecution of fraudulent transfer and other claims by the Receiver and the

Committee (the “OSIC-Receiver Agreement”). See SEC Action ECF No. 1267, p. 2 (“The Court

finds that the fee arrangement set forth in the Agreement is reasonable.”); see also OSIC-

Receiver Agreement SEC Action ECF No. 1208, Ex. A, p. 3 (providing a “contingency fee” of

25% of any Net Recovery in actions prosecuted by the Committee’s designated professionals).

The Court’s order approving the OSIC-Receiver Agreement also provided that the Committee

need not submit a fee application seeking an award of fees consistent with the percentage

authorized under the Court’s previous order unless required by Rule 23. See SEC Action ECF

No. 1267, p. 2.



MOTION TO APPROVE SETTLEMENT WITH BDO                                                       44
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                   Page 45 of 49 PageID 407



         105.     The OSIC-Receiver Agreement further provided that the Committee “would

prosecute certain fraudulent transfer claims and other actions for the benefit of Stanford

investors/creditors in cooperation with Ralph S. Janvey, as receiver.” See OSIC-Receiver

Agreement, SEC Action ECF No. 1208, Ex. A, p. 1. The Agreement further provided that “this

proposal will apply to the litigation of all fraudulent transfer and similar claims that may be

brought under common law, statute … or otherwise…” and “unless otherwise agreed, the terms

of this agreement will likewise apply to the pursuit of any other claims and causes of action that

the Receiver and the Committee determine to jointly pursue.” Id. at pp. 1-2.

         106.     The contingency fee agreements with Plaintiffs in the Committee and Investor

Litigation similarly provide for a fee of 25% of the Net Recovery (defined as the total recovery

after deducting allowable expenses and disbursements), and were modeled after the OSIC-

Receiver Agreement since the parties knew that the Court had already approved a 25%

contingency fee agreement.

         107.     The 25% contingency fee arrangement that was approved by the Court in the

context of the OSIC-Receiver Agreement became the framework for all of the 25% contingency

fee agreements that the Committee entered into with Plaintiffs’ Counsel in the Committee and

Investor Litigation, as well as the twenty-five prevent (25%) contingency fee agreements that the

Receiver entered into with Neligan Foley in certain of the other third party lawsuits.

         108.     As set forth in Schwartz, courts in this district have routinely approved 25%, and

more often 30%, fee awards in complex securities class actions. 2005 WL 3148350, at *27

(collecting cases). Under the circumstances of this case, such an award is appropriate here as

well.



MOTION TO APPROVE SETTLEMENT WITH BDO                                                            45
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                   Page 46 of 49 PageID 408



D.       The Proposed Fee Should Be Approved

         109.     For the same reasons the Court previously found the 25% contingency fee OSIC-

Receiver Agreement to be reasonable, see SEC Action No. 1267, p. 2, the Court should find the

25% contingency fee applicable to the settlement of the Committee and Investor Litigation to be

reasonable and approve it for payment. Here, there is even more reason to find the fee to be

reasonable than in the fraudulent transfer lawsuit context, as the Committee and Investor

Litigation and the other larger third-party cases are extraordinarily more complex, time

consuming and risky, involving numerous factual and legal issues and claims when compared to

the relatively straight-forward fraudulent transfer claims. The settlement of the Committee and

Investor Litigation has yielded an enormous benefit to the Stanford Receivership Estate and the

Stanford Investors and is the largest settlement of a third-party lawsuit in the over six-year

history of the Stanford receivership. Thus, Plaintiffs submit that an award of attorneys’ fees

equal to 25% of the net recovery from the BDO Settlement, as requested, is reasonable and

appropriate and should be approved under applicable Fifth Circuit law, whether using a common

fund approach, the Johnson factor approach, or a blended approach. A proposed form of Order

Approving Attorneys’ Fees is attached as Exhibit 6 to the Appendix to this Motion.

E. Examiner Support for Fee Award

         110.     John J. Little in his capacity as Court-appointed Examiner also supports the award

of Plaintiffs’ attorneys’ fees, and requests that the Court approve them. See Declaration of

Examiner John J. Little, attached as Exhibit 7 to the Appendix to this Motion.

                                  V. CONCLUSION & PRAYER

         111.     The BDO Settlement represents a substantial and important recovery for the



MOTION TO APPROVE SETTLEMENT WITH BDO                                                            46
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15                        Page 47 of 49 PageID 409



Receivership Estate and the Stanford Investors. The large amount of the recovery, the time and

costs involved in pursuing litigation against the BDO Entities, and the uncertain prospects for

obtaining and then recovering a judgment against the BDO Entities, all weigh heavily toward

approving the BDO Settlement, entering the Bar Order and approving the attorneys’ fees of

Plaintiffs’ Counsel.

         WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully request this Court:

                  a.   Enter the proposed Scheduling Order providing for notice and a hearing on

                       this Motion;

                  b.   Grant this Motion;

                  c.   Approve the BDO Settlement Agreement;

                  d.   Enter the Bar Order in the SEC Action;

                  e.   Enter the Judgment and Bar Order in the Committee Litigation;

                  f.   Approve the attorneys’ fees of Plaintiffs’ Counsel; and

                  g.   Grant Plaintiffs all other relief to which they are entitled.

 Date: May 15, 2015.




MOTION TO APPROVE SETTLEMENT WITH BDO                                                           47
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15        Page 48 of 49 PageID 410



                             Respectfully submitted:

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MOTION TO APPROVE SETTLEMENT WITH BDO                                           48
EAST\97590543.2
Case 3:12-cv-01447-N-BG Document 52 Filed 05/15/15               Page 49 of 49 PageID 411



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                               CERTIFICATE OF SERVICE

       On May 15, 2015, I electronically submitted the foregoing document with the clerk of the
court of the U.S. District Court, Northern District of Texas, using the electronic case filing
system of the Court. All parties who have appeared in this proceeding will be served via ECF.
Investors and other interested parties will be served and given notice of the hearing on this
Motion as approved by the Court.


                                           /s/ Douglas J. Buncher
                                           Douglas J. Buncher
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MOTION TO APPROVE SETTLEMENT WITH BDO                                                       49
EAST\97590543.2
